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                 Exhibit I
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March 29, 2021

Via Email and UPS Overnight Delivery
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          Re:      Jon Frey v. Frontier Utilities Northeast LLC, et al.; Case No. 19-2372-KSM, in
                   the United States District Court for the Eastern District of Pennsylvania

                   Andrew Perrong v. Frontier Utilities Northeast LLC, et al.; Case No. 20-5844-
                   MSG, in the United States District Court for the Eastern District of Pennsylvania

Dear Counsel:

        On behalf of Defendant Frontier Utilities Northeast LLC (“Frontier”), this letter will serve
as notice of a material breach of the Class Action Settlement Agreement and Release (“Settlement
Agreement”) by Plaintiffs.

        On March 27, 2021, Frontier learned that Plaintiff Jon Frey had been indicted by a federal
grand jury in the Eastern District of Pennsylvania on November 4, 2020, on multiple counts of
child pornography including Distribution and Attempted Distribution of Child Pornography in
violation of 18 U.S.C.A. § 2252(a)(2), (b)(1). A copy of Mr. Frey’s Indictment is attached as
Exhibit 1. Mr. Frey’s identity was confirmed by the Government’s Motion for Pretrial Detention
wherein it states that he is the owner of Richmond Tech and Telecom and provides his address at
3049 Almond Street. See Ex. 2, Gov’t Mot. for Pretrial Detention dated Oct. 22, 2020 (Dkt. #8)
at 7.

        Frontier would not have entered into the Settlement Agreement had it known of Mr. Frey’s
Indictment and his reprehensible alleged conduct as set forth in the pleadings filed by the federal
government. At no time did Plaintiffs’ counsel advise Frontier of Mr. Frey’s Indictment; meaning,
Frontier was intentionally lied to and misled over the course of the five months of settlement
discussions, mediation, and negotiation of the Settlement Agreement resulting in thousands of
dollars of wasted attorney’s fees and expenses including more than $10,000 paid to JAMS for
mediation. Moreover, whether Mr. Frey reviewed or executed the Settlement Agreement at all has
now been drawn into question. This material breach prevents the Court from approving the

NextEra Energy Resources, LLC
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Settlement Agreement, and thus it provides Frontier the right to terminate the Settlement
Agreement pursuant to Section 8.1.

        Your first contact to Frontier to discuss potential settlement of this litigation was in the
evening of October 20, 2020 – the same day that Mr. Frey was arrested. See Ex. 2 at 16. Since
receiving the demand letter from you on behalf of Mr. Frey on November 2, 2020, Frontier has
been discussing settlement and negotiating with you on behalf of Mr. Frey. You never disclosed
that Mr. Frey was being held at the federal detention center during negotiations. Indeed, it is
questionable how Mr. Frey authorized the November 2 demand to be sent, whether he actually
received and reviewed Frontier’s settlement offer, or if he agreed to mediate his claims with the
Hon. Morton Denlow. Notably, his criminal counsel filed a motion for continuance of Mr. Frey’s
criminal trial on February 3, 2021, based on counsel’s inability to “visit with the defendant while
he was in custody.” Ex. 3, Mot. for Continuance dated Feb. 3, 2021 (Dkt. #29) at ¶ 3.

        During the initial discussion with Judge Denlow on February 3, 2021, you represented to
Judge Denlow and Frontier that Mr. Frey would only be able to participate by telephone during
the mediation on February 16 because the mediation was allegedly scheduled on short notice and
Mr. Frey had to work. That representation was false. Although it appears from publicly available
records that Mr. Frey was released on bond from federal detention on or about January 26, 2021,
he is apparently confined to his parents’ home pending his trial in August 2021. A copy of the
Memorandum and Order regarding the conditions of his release pending trial are attached as
Exhibit 4. As a condition of Mr. Frey’s release, he is prohibited from having access to a computer,
the internet, and a telephone other than for purposes of communicating with his medical providers.
Ex. 4, Order at ¶ 10. Thus, Mr. Frey was not working on February 16 and he could not participate
in any legal proceeding by ZOOM because he is prohibited from using a computer and the internet.
Id.

        The parties mediated this case with Judge Denlow for nearly 12 hours on February 16. At
no time did Plaintiffs’ counsel disclose during the mediation that Mr. Frey’s Indictment and his
pending criminal trial would impact his ability to serve as a class representative in connection with
any settlement of the case. You represented to Judge Denlow and Frontier during the initial joint
session that Mr. Frey was willing and able to serve as the class representative. Moreover, Mr. Frey
was on the mediation via telephone when Judge Denlow asked the parties to each state what the
impediments were to settlement from their perspective – Mr. Frey was silent and you as counsel
for Plaintiffs acquiesced in that silence. Plaintiff Andrew Perrong, who has a personal relationship
with Mr. Frey and worked for his business, also acquiesced in this fraud by remaining silent.

        Similarly, the parties discussed prior to and at the mediation whether, if a settlement was
reached, the motion for preliminary approval of the class settlement would be filed before Judge
Goldberg or Judge Marston. You never disclosed to Frontier that Judge Goldberg was the
presiding judge on one of the two pending criminal dockets involving Mr. Frey. See Ex. 5,
Criminal Docket Report Assigned to Hon. Mitchell S. Goldberg at 1-2 (identifies arrest date of
Oct. 20, 2020). That fact could obviously impact Judge Goldberg’s determination of whether the
Settlement Agreement is in the best interest of the putative class as well as the adequacy of the
proposed settlement class counsel and representatives.
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        On February 26 and February 28, Frontier discussed with you the amount of any service
payment to Plaintiffs. You did not disclose during these conversations or in your email indicating
Plaintiffs agreed to $5,000 that Mr. Frey could not serve as a class representative. See Ex. 6, Email
from A. Paronich dated Feb. 28, 2021 (“After reviewing and consulting with our clients, they did
not want to allow their proposed incentive award to be the only outstanding item in the agreement,
and have agreed that they will each apply for a $5,000 incentive award.”). This was clearly
misleading and suggested to Frontier that Mr. Frey would be fully able to fulfill his role as class
representative.

        On March 9, 2021, you provided a copy of the Settlement Agreement that purported to be
executed by Mr. Frey. Since Mr. Frey is prohibited from accessing the computer and internet,
Frontier questions whether Mr. Frey reviewed and understood the terms of the agreement, the
releases he was providing therein, and his role as class representative.

       Pursuant to FED. R. CIV. P. 23, Plaintiffs are required to show, among other things, “the
claims or defenses of the representative parties are typical of the claims or defenses of the class”
and that “the representative parties will fairly and adequately protect the interests of the class.”
FED. R. CIV. P. 23(a)(3)-(4) (emphasis added); see Settlement Agreement, Ex. 1 Preliminary
Approval Order at ¶ 8 (“Plaintiffs and Settlement Class Counsel must fairly and adequately protect
Settlement Class Members’ interests.”). Mr. Frey fails both these prongs and cannot be a class
representative in this case. Nor can he comply with the requirement in the Settlement Agreement
“to implement the Parties’ settlement in accordance with the Settlement Agreement.” Id.

        Mr. Frey’s ongoing criminal issues make his claim not typical of members of the class as
he is subject to unique defenses. Mr. Frey’s alleged immoral behavior and Indictment draw his
credibility into question. As such, his claim against Frontier (which was already weak) is now to
subject to even greater scrutiny. You may recall that Mr. Frey’s claim is based on one telephone
call from March 20, 2019, that Mr. Frey alleges was to (215) 634-7976. That allegation contradicts
the telephone number Energy Acquisitions Group, LLC stated under oath it had called ((215) 634-
7974) and that Mr. Frey twice confirmed as reflected in the call recording.

        Thus, these new criminal charges subject to further scrutiny his already fragile claim that
has no evidentiary support other than Mr. Frey’s own self-interested statements. Additionally,
Frontier has argued throughout this case that Mr. Frey’s knowledge of the telecommunications
industry helped him manufacture a claim. This unique defense is further supported by the
government’s similar statements and serious concerns regarding his release in his pending criminal
case. See Ex. 2 at 10-11 (“There is no doubt that the defendant is especially knowledgeable when
it comes to computers. . . . If this Court were to order that computer monitoring software be
installed on the defendant’s computer, there would be no way to detect if the defendant—who is
clearly technologically savvy—were to subvert the computer monitoring software by simply
inserting a device with its own operating system into the computer being monitored, thereby
bypassing the monitoring software altogether.”).

        Further, it is indisputable Mr. Frey is not an adequate class representative for purposes of
representing the putative class members. Mr. Frey will not be able to implement the terms of the
Settlement Agreement or comply with his fiduciary duties as class representative to protect the
interests of the settlement class members. First, Mr. Frey will not be able to participate in any
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